Case 2:22-Cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 1 of 19 PagelD #: 10

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Donna U. Grodner Serious Personal Injury Attorney rlevuntagt ceo bbehan eine

DONNA GRODNER

November 3, 2021
via mail

Clerk of Court, Calcasieu

H. Lynn Jones, II (07/04)

P.O. Box 1030

Lake Charles, LA 70602 - 1030

RE: Derrick Cotlong v. Sergeant Johnson; Sergeant Davis; and Sheriff Tony
Mancuso, ex officio Calcasieu parish Sheriff (14 JDC)

Dear Sir/Madam: 2071 - “HAA G

Please find enclosed herewith the original and two (2) copies of the following for
filing:
1.)Civil Cover Sheet and 2.)Petition For Damages/Use of Force

Please issue citation and service as directed below:

1.) SERGEANT JOHNSON; SERGEANT DAVIS; and SHERIFF WILLIAM
EARL “TONY” MANCUSO, ex officio CALCASIEU PARISH DETENTION
CENTER, personal where ever he may be found or at his office or on any
persons of suitable age and discernment located at the Calcasieu Parish
Sheriff's Office,5400 East Broad Street, Lake Charles, LA 70615

Please also find Petition to proceed pauper. Please return a conformed copy. la/ 30/, wf

We ask that your please provide Notice of all Hearings, Orders and Judgments by
mail to all counsels for (plaintiffs and defendants in case). Please return a stamped copy
to us showing the date of filing in the self-addressed, envelope provided.

Sincerely,

yesped War ll

Donna U. Grodner

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enclosure

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Fang! Date: 11/08/2021 12:00 AM unt: 1
Case Number: 2021-004699
Diacument Name: LETTER

Grodner Law Firm
2223 Quail Run Drive. Suite B Baton Rouge. LA 70808 = T: 225.769.1919 = Fs 225.769.1997
Toll Free: een 1845 W: www. grodnerlaw.com
Case 2:22-cv- -00110- JDC- KK Document 1-2 Filed 01/12/22 Page 2 of 19 PagelD * 11

nb

DERRICK COTLONG wth * CIVIL ACTION NO: SCANNED
TOW * 14" JUDICIAL DISTRICT COURT ,,.,,

Vv. *

SERGEANT JOHNSON; :

JUDGE
SERGEANT DAVIS; and CALCASIEU PARISH
SHERIFF TONY MANCUSO, ex officio
CALCASIEU PARISH SHERIFF STATE OF LOUISIANA

PETITION FOR DAMAGES/USE OF FORCE
NOW INTO COURT, through undersigned counsel, comes Mr. DERRICK

*

COTLONG, who respectfully represents that he has sustained compensable damages
from use of force and injury while housed at the Calcasieu Parish Detention Center caused ~

by the acts and omissions of Defendant(s) herein, or for which Defendant(s) is/are legally Vv

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—

responsible, as follows:

S5

1.
VENUE
Venue is proper in this jurisdiction under La. R.S. 15:1184 (F} DERRICK COTLONG
was housed at the Calcasieu Parish Detention Center at the time of the injury.
2.
JURISDICTION
Exhaustion of administrative procedures are not necessary to bring tort claims. Any
exhaustion requirement bring this action is unconstitutional. Pope v. State, 792 So. 2d 713
(La. 2001). To the extent any administrative remedy may be required, the Plaintiff initiated
the procedure with three (3) ARPs on November 3, 2020, and properly submitted the
forms, but he has net been provided with notice of finality of the review and the deadline

to do so has run.

 

PLAINTIFF:

DERRICK COTLONG 0000002214 is a major who during material times herein was
incarcerated in the CALCASIEU PARISH DETENTION CENTER, and who was an inmate
at that facility where he sustained injuries, but who is now housed at the Catahoula
Correctional Center. a

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DEFENDANT(S)

SHERIFF WILLIAM EARL TONY MANCUSO, ex officio CALCASIEU PARISH
DETENTION CENTER, a resident of the full age of majority domiciled in the Parish of
Calcasieu, State of Louisiana, who was acting under color of state law and amendable to

service of process through Sheriff TONY MANCUSO personal where ever he may be

found or at his office or on any persons of suitable age and discernment located at the

UENO

Filing! Date: 11/08/2021 12:00 AM Page Count: 7
Case Number: 2021-004699
Document Name: PETITION
Case 2:22-cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 3 of 19 PageID#: 12

Calcasieu Parish Sheriff's Office, 5400 East Broad Street, Lake Charles, LA 70615.

SERGEANT JOHNSON, is a major, who is sued individually and who is/was a
correctional officer employed at the Calcasieu Parish Detention Center, and who is
amenable to service of process personal or on any employee of suitable age and
discernment located at Caicasieu Parish Sheriffs Office, 5400 East Broad Street, Lake
Charles, LA 70615

SERGEANT DAVIS, is a major, who is sued individually and who is/was a
correctional officer employed at the Calcasieu Parish Detention Center, and who is
amenable to service of process personal or on any employee of suitable age and
discernment located at Calcasieu Parish Detention Center, 5400 East Broad Street, Lake
Charles, LA 70615.

5.
GENERAL ALLEGATIONS

On October 30, 2020, the Calcasieu Parish Detention Center was operated by
Sheriff William Earl TONY MANCUSO and his warden who was the immediate supervisor
of the guards/correctional officers.

6.

On October 30, 2020, DERRICK COTLONG was housed at Cell 8 Isolation under

the care and supervision of Sergeants Davis and Johnson.
7.

On October 30, 2020, Sgt. JOHNSON and Sgt. DAVIS were employees and in the

course and scope of their employment and at all times acting under color of state law.
8.

On October 30, 2020, DERRICK COTLONG was assigned to Cell 8, where he was
experiencing severe pain in his stomach and blood in his urine and bowel, but was unable
to obtain the attention of any corrections employee to summons medical attention.

9.

In an attempt to obtain medical treatment, DERRICK COTLONG then placed a
cover over the cell camera to get the attention of a guard so that he could receive medical
attention. He was ordered to take the tissue off of the camera and before he could do so,
he was told that he “signed a death wish” and he was sprayed with chemical and tazed.
The correctional officers came into Celi 8 with the intention to kill DERRICK COTLONG
making verbal threats to do so.

10.
DERRICK COTLONG had been calling for medical attention since he arrived at
Case eS Document 1-2 Filed 01/12/22 Page 4o0f 19 PagelD#: 13

CPDC on October 27, 2020. He called his daughter and asked her to please call EMT
Ambulance for his pre-existing conditions, but CPDC staff ordered them away and told him
to stay off the phone with his daughter.

41.

He did not receive and was not allowed medical attention for his sever abdominal
pain and blood in his urine and bowel movement..

12.

On October 30, 2020, after entering the cell, Sergeants Johnson and Davis sprayed
DERRICK COTLONG with a chemical agent and the shot him with a tazer and stuck him
with a hand held tazer. They then placed DERRICK COTLONG in restraints and punched
and kicked DERRICK COTLONG about his head, face and back unti! a black nurse told
them “that’s enough!” DERRICK COTLONG was in full restraints during the beating.

13.

During the beating, these defendants and cther correctional officers were calling

DERRICK COTLONG names such as “stupid nigger” and otherwise cursing him.
14.

After that beating, these Defendants then took DERRICK COTLONG into the
shower to wash the chemical from his face, but they had fractured his face and right hand
and caused a pinched nerve in his back and left shoulder. He was in severe pain from the
beating and tazer and chemical weapon and could hardly move his arms and body. He was
ordered to get up off the ground, but he was in severe pain and scared and needed
medical assistance. Officer Johnson did not call medical and again shot DERRICK
COTLONG with a Tazer and Davis again sprayed him with a chemical weapon in the face
and genital area.

15.

Sergeant Johnson and another officer then began to shoot DERRICK COTLONG
with the Tazer and other officers stomped and choked him in the shower saying that “today
is your death date.” The officers wee laughing and continued to choke DERRICK
COTLONG and assault him.

16.

DERRICK COTLONG was not given an opportunity to wash the chemical from his
body until November 3, 2020. He asked every shift to take photos of his injuries. He has
been shot in the eye multiple times with the taxer while in restraints in the shower. He had
knots on his head, two black eyes, a fractured right hand, fractured jaw, busted mouth,

pain in his lower back, neck, eye, knees and other physical injuries.
Case 2:22-cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 5of19 PagelD#: 14

17.

He asked every shift to call the EMT, but they refused. He asked fro internal affairs

and the officers laughed that suggestion off.
18.

DERRICK COTLONG continues to suffer with insomnia, nightmares and he is
unable to see clearly out of his left eye and he is unable to use his right hand. He had
large knots on his head and had headaches and was urinating blood. He is losing his
eyesight and suffering with pain, severe depression and fear and has other injuries.

19.

Defendants exhibited and acted in a manner that was in negligent disregard or
ignorance when they had a duty to protect inmates and to provide a safe palce to reside.
20.

The correctional officers were inadequately trained in how to deal with an inmate
when conducting a shake down The inadequate training demonstrates a negligent
indifference on the part of the employer towards persons with whom the correctional
officers come into contact, and there is a direct causal link between the injury and the
inadequate training.

21.

The actions/inactions of the Defendant has caused DERRICK COTLONG severe
disability, emotional distress, mental anguish, severe and permanent humiliation,
embarrassment, loss of future wages, and extreme pain and suffering and physical injury.

22.
Pursuant to La. R.S. 15:701, et seq. the Sheriff is the keeper of the Jail.
23.

Failure of the Sheriff to maintain the Jail in accordance with “Basic Jail Guidelines”

was in negligent indifference to the persons housed at the Jail.
24.
Pursuant to La. R.S. 15:838 (A)(1) each offender has a right to be treated in a

humane manner.
25.

The Constitution, statutes, rules and regulations enacted to protect inmates were

disregarded.
26.
La. R.S. 15:829, which allows the Secretary of the Louisiana Department of Public

Safety and Corrections to enact rules and regulations governing inmates and guards,

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Case 2:22-cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 6 of 19 PagelD #: 15

provides that corporal punishment of inmates is forbidden. See also, LAC 22:3308 (B) and
see Department Regulation No. c-02-006 (6){b)(c)(d).

A. The secretary of the Department of Public safety and Corrections shall

prescribe rules and regulations for the maintenance of good order and

discipline for inmates sentenced to the legal custody of the department
whether housed in local or state facilities, which rules and regulations shall
include procedures for dealing with violations thereof. A copy of such rules

and regulations shall be furnished each inmate. Corporal punishment is

prohibited.

27.

Violation of a state statute evidences unreasonable conduct and a breach of the
standard of care..

28.
In the alternative, the Defendant has similarly attacked other prisoners.
29.

In the alternative, whether the guard or other guards may have committed the same
acts on other inmates is unknown at this time, but where same may be shown, or where
ratification of the actions of guards may be shown, or violation of or failure to implement
any applicable policies or procedures, there may be other persons at fault where same
constitutes a deliberate indifference to the constitutional rights of a detainee. All rights are
reserved herein to name additional defendants pending discovery.

30.

it was unreasonable for Defendant(s) to use force on Plaintiff when he was not
resisting and when he was no longer resisting or attempting to flee or, otherwise, commit
any crime.

31.

Use of force was unnecessary and excessive to any need and/or there was no need

for use of force under the 8th Amendments and the circumstances presented.
32.

The Defendant acted in a manner that was in wanton or reckless disregard or with

malice or willfulness to cause injury and violate constitutional rights.
33.

Violating inmates rights and failure to follow rules and regulations implemented for

the protection of inmates constitutes deliberate indifference.
34.

The following claims for relief are pled collectively and in the alternative.
Case 2:22-cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 7 of 19 PagelID#: 16

ne 35.
FIRST CLAIM FOR RELIEF
SECTION 1983 VIOLATION OF CIVIL RIGHTS

Plaintiff seeks relief pursuant to 42 U.S.C. § 1983.

Under the color of State and local law, Defendants violated the Plaintiff's 8th
Amendment right to be free from use of unnecessary and/or excessive force, corporal
punishment and cruel and unusual punishment while being incarcerated by the Defendant.

36.

Guards are prohibited by state law from using corporal punishment on prisoners. La.
R.S. 15:829.

37.

Use of corporal punishment was prohibited and/or force was unnecessary and/or
excessive to any need and/or there was no need for use of force under the 4th or 8th
Amendment and the circumstances presented.

38.
The Defendant violated multiple state laws and rules and regulations concerning the

treatment of inmates.

39.
The conduct of the Defendant was extreme and outrageous.
40.
Defendant acted in a manner that was in wanton or reckless disregard or with
malice or willfulness to cause injury and violate constitutional rights.
41,
SECOND CLAIM FOR RELIEF COSTS AND ATTORNEY FEES
Plaintiff seeks relief in the form of attorney's fees and cost pursuant to 42 USC §

1988 and punitive damages pursuant to 42 USC § 1983.
42.
THIRD CLAIM FOR RELIEF
NEGLIGENCE
In the alternative, the DEFENDANT knew or should have known that firing tazers
and striking an inmate was a battery under state law that could cause injury.
43.
Plaintiff seeks relief under La. C.C. arts. 2315 of the Louisiana Civil Code, which

injuries were occasioned by the intentional and/or negligent acts and/or omissions of the

6
Case 2:22-Cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 8 of 19 PagelD #: 17

Defendant(s) herein, and article 2317 and, in the alternative, for intentional infliction of |
emotional distress.
44.
FOURTH CLAIM FOR RELIEF
RESPONDEAT SUPERIOR
Anemployer is liable pursuant to respondeat superior for the tortious acts committed
against third parties by its employees during the course and scope of employment and
while under its control, direction and supervision pursuant to La. C.C. arts. 2317 and 2320.
45.
DAMAGES
Plaintiff, itemizes his damages including but not limited to the following:
a Bodily injuries, pain and suffering - past, present and future;
b. Mental anguish and distress - past, present and future;
Medical and pharmaceutical expenses - past, present, and future;
Apprehension of insufficient medical attention to injury;
Permanent impairment and disability;

Fear and fright; embarrassment, humiliation, and aggravation;

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g. Continual pain and suffering in an amount proper in the premise.

WHEREFORE Plaintiff prays that Defendants be cited to appear and answer, that
plaintiffs be properly noticed of all hearings and dates; and that, after due proceedings
herein, the defendant(s) be cast in judgment unto Plaintiff for damages, cost, interest from

date of demand, and attorney fees as may be allowed by la

 

GRODNER & ASSOCIATES

2223 Quail Run, B-1

Baton Rouge, Louisiana 70808
(225) 769-1919 FAX (225) 769-1997
dgrodner@grodnerlaw.com

SERVICE INFORMATION
CLERK PLEASE ISSUE CITATION AND SERVE:

SERGEANT JOHNSON;

SERGEANT DAVIS; and
SHERIFF WILLIAM EARL TONY MANCUSO, ex officio CALCASIEU PARISH

DETENTION CENTER, personal where ever he may be found or at his office or on any
persons of suitable age and discernment located at the
Calcasieu Parish Sheriff's Office,5400 East Broad Street, Lake Charles, LA 70615
Case 2:22-cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 9 of 19 PagelID#: 18

 

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APPENDIX 9.6
LOUISIANA CIVIL CASE REPORTING
Civil Case Cover Sheet - LA. R.S. 13:4688, Part G, §13 of the Louisiana Supreme Court
General Administrative Rules, and Appendix 9.6 of the Louisiana District Court Rules

This civil case cover sheet shall be completed by counsel for the petitioner, counsel’s authorized
representative, or by the self-represented litigant (if not represented by counsel) and submitted with the
original petition filed with the court. The information should be the best available at the time of filing.
This information does not constitute a discovery request, response or supplementation, and is not

admissible at trial. Nevrich
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Parish of Filing: K $ ew Filing Date: / + 8 “Al

Name of Lead Petitioner’s Attorney:

 

Grdner & Assoclataa, AP, 5
Attomeys at Law Le

 

Name of Self-Represented Litigant: Baton Rouge, LA WOSOR
Number of named petitioners: Number of named defendants: 5

Type of Lawsuit: Please check the categories which most appropriately apply to this suit
(no more than 3 cates 1 be checked):

 

of =

__Auto: Personal Injut Pee = __ Auto: Property Damage

__ Auto: Wrongful Dez ne ——— __ Auto: Uninsured Motorist

_Asbestos: Property 1 § = __ Asbestos: Personal Injury/Death

__ Product Liability ve 3 = ___ Premise Liability

__Intentional Bodily Ir § C= __ Intentional Property Damage

__Intentional Wrongfu g == __ Unfair Business Practice

__ Business Tort —— __ Fraud Loe -
__Defamation ; = __ Professional Negligerip ~
_ Environmental Tort 4 __ Medical NaeieepOAPO Wier
__ Intellectual Property B ge __ Toxic Tort ce

__ Legal Malpractice g ther Tort (describe below)

__ Other ProfessionalN = > __ Redhibition

__ Maritime ___ Class action (nature of case)

__ Wrongful Death

__ General Negligence

Please briefly deseribe a awcuce Of the litigation in one sentence of additional detail:
A d to, -—t —{—
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Following the completion of this forp{ by counsel, counsel’s representative, or by the self-represented_
litigant, this document will be submitted to the Office of the Judicial Administrator,- Supreme Court of
Louisiana, by the Clerk of Court. " o

Name, address and contact information of person cna
Name GrodnorsAsseck Signature f

Attomeys at Law’ |”
2223 QuailRun, Sutte B
Address Baton Rouge, LA 70808

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Phone number: E-mail address: of md od ,

 

 
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| BEFORE ME, the undersigned notary public the undersigned, who dia:
denoge and Siate that he/she does not have Suificient funds to advance court costs and
is unable to pay costs of court, in advance or as they accrue, or to fumish Security for

the ccist.

 

 

i COMPLETE THE BELOW Facts WITH INFORMATION ON PLAINTIFF
FACTS CONCERNING MOVER
Fulll Name: Dereick “J. Ca Mona et

          

Address: 4 Old Columb: artis cana.
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Date df circ, eae Social Security Number:_ =) ‘cane
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Marie! Status:
Furnish the following information if you are presenily employed:

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Address; IN O+ Ean ble Ye of CT AC arwrated since it 7-209

ay fy
Telephone: Wik Length of Employment Aves
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If marfied and living with spouse:
Spouse's name: Diver och
Yes Hy Pal i No

 

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Do yo

 

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If answer wa
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MOTION TO PROCEED IN FORMA PAUPERIS ,
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On motion of 7 Derrick t¢6 4h Leng , through undersigned counsel, on
Suggesting to the court that mover doas net have sufficient funds to advances court costs
and is unable td } pay the costs of court becausa of movers poverty and lack of means,
mover wishes to exercise the privilege granted pursuant to Louisiana Code of Civil
Procedure Art § i 81, and applies to this court for permission to proceed in forma pauperis.

In support mover has attached an affidavit verifying mover's poverty‘and lack of
means, as well 4s the affidavit of a third person, having personal knowledge of mover and
mover's financig! condition, verifying that moverts unable.to pay.the. costs of court, In.
advanee or as thiey accrue, or fo furnish security for the casts.

. ORDER

Consideiing the preceding motion, it Is orered that mover he permitted to litigate,
or to continue thie litigation of, the ‘action or proceeding, without the payment of costs, In’
advance or as they accrue, or fumishing Security for the costs.

Rrder signed at (0 Ch ;

ot _NOwontie, 2024

 

  

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$ - Grodner Law Firm
- 2228 Quail Run Drive Suite B-1
Baton Rouge, LA 70808

Phone: 225/769-1919
Fax, 226-769-1997

 

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Case Number: 2021 004699
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Case 2:22-cv-00110-JDC-KK | Document 1-2 Filed 01/12/22 Page 15 of 19 PagelD #: 24

 

Citation
DERRICK COTLONG 14" Judicial District Court
VS. —-2021-004699 State of Louisiana
SERGEANT JOHNSON Parish of Calcasieu

 

 

THE STATE OF LOUISIANA

TO; TONY MANCUSO Personally PAUPER
SHERIFF WILLIAM EARL TONY
MANCUSO,EX OFFICIO

CALCASIEU PARISH DETENSION
CENTER, PERSONAL WHERE EVER
HE MAY BE FOUND OR AT HIS
OFFICE OR ON ANY PERSONS

OF SUITABLE AGE AND
DISCERNMENT LOCATED AT THE
CALCASIEU PARISH SHERIFF'S
OFFICE, 5400 EAST BROAD
STREET,

LAKE CHARLES, LA 70615

Parish of Calcasieu, Louisiana, Defendant in said suit:

YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply with the demand contained in
the petition of DERRICK COTLONG, (PETITION FOR DAMAGES/USE OF FORCE) against you, certified copy of
which petition accompanies this citation, or file your answers thereto in writing in the office of the Clerk of Court, at the

Courthouse, in the City of Lake Charles, in said Parish, within fifteen (15) days after the service hereof, under penalty of
default.

Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 8th day of November 2021.

Issued and delivered December 30, 2023

Lutte. Boieel

annette Borel

Deputy Clerk of Court
ea SERVICE INFORMATION
Received on the day of 20___, and on the day of 20___, served the above named

 

 

party as follows:
PERSONAL SERVICE on the party herein named

DOMICILIARY SERVICE on the party herein named by leaving the same at his domicile
in the parish in the hands of & person apparently over the age of seventeen years, living and residing in

said domicile and whose name and other facts connected with this service, I learned by interrogating the said person, said party herein
being absent from his residence at the time of said service.

 

 

RETURNED:
PARISH OF this day of 20
SERVICE $ BY:

Deputy Sheriff
MILEAGE $.

TOTAL §,

Party No. POO!

 

 

 

 

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Filing Date: 12/30/2021 12:00 AM Page Count: 1
Case Number: 2021-004699
Document Name: 1600 Citation
[ File Copy }
CMS0085 | Page lof 1
Case 2:22-CVv-00110-JDC-KK | Document 1-2 Filed 01/12/22 Page 16 of 19 PagelD #: 25

 

Citation
DERRICK COTLONG 14" Judicial District Court
VS. =. 2021-004699 State of Louisiana
SERGEANT JOHNSON Parish of Calcasteu

 

 

THE STATE OF LOUISIANA

TO: SERGENT DAVIS Personally PAUPER
CALCASIEU PARISH DETENTION
CENTER, CALCASIEU PARISH
SHERIFF'S OFFICE
5400 EAST BROAD STREET
LAKE CHARLES, LA 70615

Parish of Calcasteu, Louisiana, Defendant in said suit:

YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply with the demand contained in
the petition of DERRICK COTLONG, (PETITION FOR DAMAGES/USE OF FORCE) against you, certified copy of
which petition accompanies this citation, or file your answers thereto in writing in the office of the Clerk of Court, at the
Courthouse, in the City of Lake Charles, in said Parish, within fifteen (15) days after the service hereof, under penalty of
default.

Wimess the Honorable Judges of said Court, at Lake Charles, Louisiana, this 8th day of November 2021.

Issued and delivered December 30, 2021

lmstt. Bael.

Annette Borel

Deputy Clerk of Court
ee SERVICEINFORMATION  ————O—~—~C—s—OSSSC<CS:t‘C=CS*W
Received on the day of 20___, and on the dayof__ 200), served the above named

 

 

party as follows:
PERSONAL SERVICE on the party herein named

PDOMICILIARY SERVICE on the party herein named by !eaving the same at his domicile

in the parish in the hands of a person apparently over the age of seventeen years, living and residing in
said domicile and whose name and other facts connected with this service, I learned by interrogating the said person, said party herein
being absent from his residence at the time of said service.

 

 

 

RETURNED:
PARISH OF this day of 20.
SERVICE §. BY:

Deputy Sheriff
MILEAGE $

TOTAL §

Party No. POO1

 

 

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: Filing Date: 12/30/2021 12:00 AM Page Count t
| Case Number: 2021-04699
Document Name: 1600 Citation
| File Copy |
CMS0085 Page 1 of 1
Case 2:22-Cv-00110-JDC-KK; Document 1-2 Filed 01/12/22 Page 17 of 19 PagelD#: 26

 

Citation
DERRICK COTLONG 14" Judicial District Court
VS. —-2021-004699 State of Louisiana
SERGEANT JOHNSON Parish of Calcasieu

 

 

THE STATE OF LOUISIANA

TO: SERGENT JOHNSON PAUPER
Personally
CALCASIEU PARISH DETENTION
CENTER, CALCASIEU PARISH
SHERIFF'S OFFICE
5400 EAST BROAD STREET
LAKE CHARLES, LA 70615

Parish of Calcasieu, Louisiana, Defendant in said suit:

YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply with the demand contained in
the petition of DERRICK COTLONG, (PETITION FOR DAMAGES/USE OF FORCE) against you, certified copy of
which petition accompanies this citation, or file your answers thereto in waiting in the office of the Clerk of Court, at the
Courthouse, in the City of Lake Charles, in said Parish, within fifteen (15) days after the service hereof, under penalty of
default.

Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 8th day of November 2021.

Issued and delivered December 30, 2021

matt. Baiel.

Annette Borel

Deputy Clerk of Court

SERVICE INFORMATION

Received on the
party as follows:

 

 

dayof___ 20, and on the dayof____ 20, served the above named

PERSONAL SERVICE on the party herein named

E 2 on the party herein named by leaving the same at his domicile
in the parish in the hands of a person apparently over the age of seventecn years, living and residing in
said domicile and whose name and other facts connected with this service, I learned by interrogating the said person, said party herein
being absent from his residence at the time of said service.

 

 

RETURNED:
PARISH OF this day of 20.
SERVICE $ BY:

Deputy Sheriff
MILEAGE $

TOTAL §

PartyNo. —- PGO1

 

 

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Filing Date: 12/30/2021 03:01 PM Page Count 1
Case Number; 2021-004699
Document Name: 1600 Citation

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CMS0085 : Page 1 of 1
Case 2:22-cv-00110-JDC-KK, Document 1-2 Filed 01/12/22 Page 18 of 19 PagelD #: 27

 

DERRICK COTLONG
VS. 2021-004699
SERGEANT JOHNSON

Citation

14 Judicial District Court
State of Louisiana
Parish of Calcasieu

 

 

THE STATE OF LOUISIANA

TO: TONY MANCUSO
SHERIFF WILLIAM EARL TONY
MANCUSO,EX OFFICIO

CALCASIEU PARISH DETENSION
CENTER, PERSONAL WHERE EVER

HE MAY BE FOUND OR AT HIS
OFFICE OR ON ANY PERSONS
OF SUITABLE AGE AND

Personally PAUPER

 

Pp
Calcasieu Parish, Loulsiana

DISCERNMENT LOCATED AT THE

CALCASIEU PARISH SHERIFF'S
OFFICE, 5400 EAST BROAD
STREET,

LAKE CHARLES, LA 70615

Parish of Calcasieu, Louisiana, Defendant in said suit:

YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply with the demand contained in
the petition of DERRICK COTLONG, (PETITION FOR DAMAGES/USE OF FORCE) against you, certified copy of
which petition accompanies this citation, or file your answers thereto in writing in the office of the Clerk of Court, at the
Courthouse, in the City of Lake Charles, in said Parish, within fifteen (15) days after the service hereof, under penalty of

default.

Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 8th day of November 2021.

Issued and delivered December 30, 2021

Received on the
party as follows:

PERSONAL SERVICE on the party herein named

 

Clmatte. Bogtel.

Annette Borel
Deputy Clerk of Court
SERVICE INFORMATION
20___, and on the day of 20___, served the above named

 

- DOMICILLARY SERVICE on the party herein named by leaving the same at his domicile

in the parish in the hands of

, 4 person apparently over the age of seventeen years, living and residing in

said domicile and whose name and other facts connected with this service, ] leamed by interrogating the said person, said party herein
being absent from his residence at the time of said service.

RETURNED:
PARISH OF this
SERVICE gui 1-2021-004899
SHRF TONY MANCUSO
E BROAD §
LC LA 70815. TREET
TOTAL! Person Served:
Received: 01/03/2022
PartyNo Deputy: CHESSON

MILEAG

Served:
Miles: 6.00

| Original Copy } |
CMso0as

SHRF TONY MANCUSO

day of 20___

ov.

Cost: 33.36

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JAN 1 202

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01/04/2022 10:41am
Type: DEPARTMENTAL

 

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Case Number: 2021-004699

Document Name: 1600 Citation

Page 1 of I
Case 2:22-cv-00110-JDC-KK Document 1-2 Filed 01/12/22 Page 19 of 19 PagelD#: 28

 

 

 

 

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{ Citation
DERRICK COTLONG 14" Judicial District Court
VS.  2021-004699 State of Louisiana
SERGEANT JOHNSON Parish of Calcasicu
THE STATE OF LOUISIANA
TO: SERGENT JOHNSON PAUPER AN 1
Personally Fi
CALCASIEU PARISH DETENTION alee Fe ote
CENTER, CALCASIEU PARISH SERRE
SHERIFF'S OFFICE Calcasieu Pariah, Louisiana
5400 EAST BROAD STREET

LAKE CHARLES, LA 70615
Parish of Calcasieu, Louisiana, Defendant in said suit:
YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply with the demand contained in
the petition of DERRICK COTLONG, (PETITION FOR DAMAGES/USE OF FORCE) against you, certified copy of
which petition accompanies this citation, or file your answers thereto in writing in the office of the Clerk of Court, at the
Courthouse, in the City of Lake Charles, in said Parish, within fifteen (15) days after the service hereof, under penalty of
default.
Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 8th day of November 2021.

Issued and delivered December 30, 2021

Clmattr. Battel

 

 

 

Annette Borel
Deputy Clerk of Court
nena anna nn anna SERVICE INFORMATION
Received on the day of 20___, and on the day of. 20___, served the above named
party as follows:
PERSONAL SERVICE on the party herei d
DOMICILIARY SERVICE on the party herein named by leaving the same at his domicile
in the parish in the hands of a person appatently over the age of seventeen years, living and residing in

 

said domicile and whose name and other facts connected with this service, I learned. by interrogating the said person, said party herein
being absent from his residence at the time of said service.

 

 

RETURNED:
PARISH OF this day of 20
SERVICE _ BY:
Deputy Sheziff
MILEAGE $
TOTAL $
PartyNo.  POOt
SO PR eee
Wwrsiwnt aad)
Suit: 1-2021-004699 Cost: 33.36 “aati :
SERGENT JOHNSON HANS U 2022
5400 E BROAD ST OE
LC LA 70615 wae '
Parson Served: SERGENT LEONARD JOHNSON oo oay
Recealved: 01/03/2022 Served: 01/05/2022 9:15am aoe
Deputy: CHESSON Milas: 6.00 Type: PERSONAL Booger
Ey:
Hl
05
c 5 6809 3 3 3
! Filing Date: 12/30/2021 03:01 PM Page Count 1
Case Number: 2021-004699

Document Name: 1600 Citation
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